               IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION
                    CASE NO.: 3:21-CR-253-MOC--DCK




UNITED STATES OF AMERICA

                 v.

MICHAEL MANDEL BALDWIN




             CONSENT MOTION TO CONTINUE DOCKET CALL

      NOW COMES defendant Michael Mandel Baldwin, through counsel, and

moves to continue the docket call in this matter from May 2, 2022. In support of this

motion, the defense shows:


      1. The Government consents to this motion.

      2. Additional documents have been recently discovered and produced to the

         Government that may have bearing on the potential resolution of this case.

      3. In the event resolution is not possible, this matter will proceed to trial and

         defense counsel needs additional time to adequately prepare.


For the foregoing reasons, the Defense requests that this matter be continued from

the May 2, 2022 trial term and set for trial at a time convenient to the Court.


      Dated: April 14, 2022.


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                             Respectfully submitted,

                             /s/ C. Melissa Owen

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                        CERTIFICATE OF SERVICE


    The undersigned hereby certifies that she has served the foregoing CONSENT
MOTION TO CONTINUE DOCKET CALL with the Clerk of Court using the
CM/ECF system, which will send notification of such filing to opposing counsel:

                              Assistant U.S. Attorney
                              caryn.finley@usdoj.gov


      Dated: April 14, 2022

                                          /s/ C. Melissa Owen




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